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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


In re
                                                                                Chapter 11
NEW CENTURY TRS HOLDINGS,                                                       Case No. 07-10416-KJC, et seq.
INC., et al.,
                                                                                Objections due by: April 29, 2008, 4:00 p.m.
                                                                                Hearing Date: May 07, 2008 at 10:00 a.m.
                                     Debtors.


                     NOTICE OF MOTION OF U.S. BANK
                 NATIONAL ASSOCIATION, AS TRUSTEE FOR
               HOME EQUITY LOAN TRUST 2005-HE2, BY SAXON
            MORTGAGE SERVICES INC. AS ITS ATTORNEY-IN-FACT
    FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:         Parties listed on the Certificate of Service

        U.S. Bank National Association, as Trustee for Home Equity Loan Trust 2005-HE2, by
Saxon Mortgage Services Inc. as its attorney-in-fact has filed a Motion for Relief from Stay
which seeks the following relief: Relief from the automatic stay to exercise its non-bankruptcy
rights with respect to certain real property in which the above-captioned debtor may hold an
interest. A complete list of the real property to which the motion relates is attached to the
motion as Exhibit A.
HEARING ON THE MOTION WILL BE HELD ON MAY 07, 2008 AT 10:00 A.M.

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at lease five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

                                                               Adam Hiller, Esquire
                                                               Maria Aprile Sawczuk, Esquire
                                                               Draper & Goldberg, PLLC
                                                               1500 North French Street, 2nd Floor
                                                               Wilmington, Delaware 19801
                                                               (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

      The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for



Movant: U.S. Bank National Association, as Trustee for Home Equity Loan Trust 2005-HE2, by Saxon Mortgage Services Inc. as its attorney-in-fact
D&G Reference: 212969
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the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.

    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: April 8, 2008                       Respectfully submitted,
       Wilmington, Delaware
                                           DRAPER & GOLDBERG, PLLC


                                            /s/ Adam Hiller
                                           Adam Hiller (DE No. 4105)
                                           Maria Aprile Sawczuk (DE No. 3320)
                                           1500 North French Street, 2nd Floor
                                           Wilmington, Delaware 19801
                                           (302) 339-8776 telephone
                                           (302) 213-0043 facsimile

                                           Attorneys for Movant




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